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                                  UNITED STATES DISTRICT COURT
  9
                                SOUTHERN DISTRICT OF CALIFORNIA
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 11
      UNITED STATES OF AMERICA,               )        CASE NO. 3:07-CR-2016-IEG
 12                                           )
                   Plaintiff,                 )        ORDER GRANTING
 13                                           )        DEFENDANT'S MOTION TO REDUCE
                  v.                          )        AMOUNT OF PERSONAL APPEARANCE
 14                                           )        BOND AND TO RELEASE PROPERTY
      JEFFERY A. LIGHT (14),                  )        USED TO SECURE BOND
 15                                           )
                   Defendant.                 )
 16   _______________________________________ )
 17
             ON THIS DAY came on to be heard Defendant's Motion to Reduce Amount of Personal
 18
      Appearance Bond and to Release Property Used to Secure Bond; and after having considered the
 19
      pleadings and arguments of counsel, the Court is of the opinion that said motion should be and the
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      same is hereby in all respects GRANTED.
 21
             IT IS SO ORDERED.
 22
 23   DATED: September 28, 2009
 24
                                                  IRMA E. GONZALEZ, Chief Judge
 25                                               United States District Court
 26
 27
 28

      ORDER GRANTING DEFENDANT'S MOTION TO REDUCE AMOUNT OF PERSONAL APPEARANCE BOND
      AND TO RELEASE PROPERTY USED TO SECURE BOND - SOLO PAGE
